                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF IOWA

    Iowa Voter Alliance, Todd Obadal, Michael C.                         Case No. 20-2078 LTS/KEM
    Angelos, Diane L. Holst,

                            Plaintiffs,
    vs.
                                                              Memorandum in Support of
    Black Hawk County and Scott County,                  Motion for Temporary Restraining Order

                            Defendants.


           The Plaintiffs, based on federal preemption, seek a temporary restraining order enjoining Black

Hawk County and Scott County from accepting and using private federal election grants.

                                            Statement of Facts

           The Center for Tech and Civic Life (CTCL) is a non-profit organization providing federal

election grants to local governments.1 The CTCL was founded in 2012 by Tiana Epps-Johnson,

Donny Bridges, and Whitney May. The CTCL headquarters is in Chicago, Illinois. The CTCL states

that they are “a team of civic technologists, trainers, researchers, election administration and data

experts working to foster a more informed and engaged democracy, and helping to modernize

elections.” CTCL’s mission on its website includes training public election officials to inform and

mobilize voters. CTCL’s founders—Epps-Johnson, Bridges, and May—all previously worked at the

New Organizing Institute (NOI), a center dedicated to training progressive groups and Democratic

campaigns in digital campaigning strategies. NOI’s executive director, Ethan Roeder, led the data

departments for the Obama presidential campaigns of 2008 and 2012. Funders of CTCL include

progressive groups such as the Skoll Foundation, the Democracy Fund, the John S. and James L.

Knight Foundation, and the Rockefeller Brothers Foundation. CTCL is associated with Rock the




1
    For background information on CTCL, see https://www.techandciviclife.org/our-work.

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Vote, who despite their non-partisan claims, has regularly featured progressive policies in its efforts

to mobilize young people in elections. Along with Rock the Vote and The Skoll Foundation, CTCL

lists Facebook as a partner in their efforts. On September 1, Mark Zuckerberg and Priscilla Chan

announced their $300 million investment to promote “safe and reliable voting in states and

localities.” Ex. B. Of that $300 million, $250 million is going toward private federal election grants.

CTCL’s 2020 private federal elections grant application process.

        In May 2020, CTCL began its private federal election grants by transmitting $100,000 to the

City of Racine, Wisconsin. See Exhibit C. CTCL authorized Racine to distribute $10,000 of the grant

to the Cities of Green Bay, Kenosha, Madison and Milwaukee. Id. The grant was conditioned upon

development of a June 15, 2020 Wisconsin Safe Voting Plan which occurred two weeks later. Id.

Later, CTCL began marketing to local election offices the federal election grants as “COVID-19

Response Grants”:

        We provide funding to U.S. local election offices to help ensure they have the critical
        resources they need to safely serve every voter in 2020.

Ex. A. CTCL states that it intends to award $250,000,000 of private federal election grants to local

election offices for the November 3, 2020 elections and provides an application link to apply for the

CTCL’s private federal election grants:

         The Center for Tech and Civic Life (CTCL) is excited to expand our COVID-19 Response
         Grant program to all U.S. local election jurisdictions. Backed by a generous $250M
         contribution, CTCL will provide grants to local election jurisdictions across the country to
         help ensure you have the staffing, training, and equipment necessary so this November
         every eligible voter can participate in a safe and timely way and have their vote counted.

                        APPLY FOR A COVID-19 GRANT

        The deadline to apply is October 1, 2020. Questions about the COVID-19
        grant application or process? Email us at help@techandciviclife.org.

See https://www.techandciviclife.org/our-work/election-officials/grants/.




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CTCL’s private federal election grants are targeted toward counties and cities with
demographics that show overwhelmingly progressive voters.

       As the chart below shows, CTCL’s private federal election grants are targeting counties and

cities with demographics showing high rates of progressive voters. Only one of the top 18 grants went

to a city or county carried by Trump and that grant was for $289,000 while the remaining $51,317,215

went to Democratic counties. In other words, a total of 0.005 (or ½ of 1%) of the total funds in the

18 largest grants provided by CTCL went to counties or cities where Trump won in

2016. Accordingly, 99.5% of these funds went to counties or cities carried by Clinton in 2016.

 County                            CTCL Grant         Clinton     Trump      D
Dallas County, TX                   $15,130,433       60.22%      30.44%     D
Philadelphia, PA                    $10,000,000       84.30%      15.32%     D
Harris County, TX                    $9,600,000       56.45%      43.55%     D
Fulton, GA                           $6,000,000       68.89%      27.40%     D
Cobb, GA                             $5,600,000       48.89%      46.69%     D
Wayne County, MI                     $3,512,000       96.83%       2.18%     D
Delaware, PA                         $2,200,000          65%         35%     D
Bexar, TX                            $1,900,000       54.19%      40.76%     D
Cameroon, TX                         $1,800,000       64.60%      32.10%     D
Hinds, MS                            $1,500,000       71.39%      26.69%     D
Centre, PA                             $863,828       48.71%      46.32%     D
Richland, SC                           $730,000       64.01%      31.10%     D
Charleston, SC                         $695,000       50.64%      42.78%     D
Lucas, OH                              $544,624       56.10%      38.32%     D
Hays, TX                               $289,000       49.50%      50.40%     R
Onondaga, NY                           $286,960       53.89%      40.13%     D
Scott, IA                              $286,870       47.50%         46%     D
Blackhawk, IA                          $267,500       50.60%      43.30%     D
Total:                              $51,606,215       60.90%      34.99%

CTCL’s 2020 private federal election grants

       In 2020, CTCL has provided private federal election grants to cities and counties in at least

Iowa, Texas, Pennsylvania, Michigan, Wisconsin, Minnesota, South Carolina and Georgia. None of

these private federal election grants have been approved by Congress or the Elections Assistance

Commission. All these states have something in common: state legislatures who will not accept



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CTCL’s private federal elections grants. So, CTCL, to accomplish its objective of turning out

progressive votes in the urban counties and cities, has circumvented these state legislatures by

recruiting local governments to apply and agree to accept CTCL’s private federal election grants.

Under Iowa law, the Secretary of State, not CTCL, apportions federal and state election
grants to the counties.

        Under Iowa law, the Secretary of State, not CTCL, apportions federal and state election grants

to the counties. I.C.A. § 47.1; Iowa Admin. Code 721-27.1, et seq. On March 27, 2020, the federal

Coronavirus Aid, Relief, and Economic Security Act (CARES Act) was signed into law. The Act

included $400 million in new Help America Vote Act (HAVA) emergency funds, made available to

states to prevent, prepare for, and respond to the coronavirus for the 2020 federal election cycle. This

supplemental appropriation funding, distributed by the U.S. Elections Assistance Commission (EAC),

provides states with additional resources to protect the 2020 elections from the effects of the novel

coronavirus and otherwise promote fair elections. Additionally, on December 20, 2019, the federal

Consolidated Appropriations Act of 2020 was signed into law. The Act included $425 million in new

Help America Vote Act (HAVA) funds, made available to states to improve the administration of

elections for Federal Office, including to enhance technology and make election security

improvements. The 2020 HAVA Election Security Fund was the second new appropriation for

HAVA grants since FY2020. This funding provided states with additional resources to secure and

improve election administration. Iowa received $4,859,545 under the CARES Act and $5,178,002

under HAVA. The total Iowa federal funding was $10,037,547. These federal monies were distributed

to counties for federal election purposes.

                                              Argument

        There are four factors to consider in determining whether a preliminary injunction, inclusive

of a temporary restraining order, should issue: “(1) whether there is a substantial probability movant

will succeed at trial; (2) whether the moving party will suffer irreparable injury absent the injunction;

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(3) the harm to other interested parties if the relief is granted; and (4) the effect on the public interest.”

Dataphase Systems, Inc. v. C L Systems, Inc., 640 F.2d 109, 112 (8th Cir. 1981) (en banc). In each case, the

factors must be balanced to determine whether they tilt toward or away from granting injunctive

relief. See West Pub. Co. v. Mead Data Cent., Inc., 799 F.2d 1219, 1222 (8th Cir.1986). The party

requesting the injunctive relief bears the “complete burden” of proving all of the factors listed

above. Gelco Corp. v. Coniston Partners, 811 F.2d 414, 418 (8th Cir. 1987).

I.    The Plaintiffs are likely to succeed on the merits.

        A.      The Iowa Voters Alliance has a private cause of action and legal standing.

        The Iowa Voter Alliance2 has a private cause of action and has legal standing to seek a pre-

election injunction against Black Hawk County and Scott County accepting and using CTCL’s private

federal election grants for the November 3 election. The Supremacy Clause and HAVA confer a

private cause of action and legal standing.

        1.      The Supremacy Clause provides a citizen’s private cause of action and legal
                standing to bring preemption lawsuits against local governments regarding
                federal elections.

        The Supremacy Clause of the United States Constitution, Article VI, clause 2, provides a

federal jurisdictional basis for a suit brought to enforce the provisions of federal election law. In

League of Women Voters v. Blackwell, 340 F.Supp.2d 823 (N.D. Ohio 2004), the court held that the

Supremacy Clause of the U.S. Constitution (U.S. Const. Art. VI, cl. 2) provides a basis for federal

court jurisdiction of the League’s suit that challenged an election official’s actions relating to balloting

procedures in federal elections as violative of HAVA, which has preemptive effect:

        It is clearly established that the Supremacy Clause grants the federal courts jurisdiction over
        such claims; conflict with a federal law raises a federal question pursuant to 28 U.S.C. §
        1331…Because plaintiffs' claim is that defendant's actions in his official duties violate a
        federal law which has preemptive effect, the Supremacy Clause provides the cause of action

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  For convenience, “Iowa Voter Alliance” includes all named Plaintiffs unless otherwise specifically
identified.

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        and federal jurisdiction.

340 F.Supp.2d at 827–28 (citations omitted). Similarly, in this case, the Supremacy Clause provides

the private cause of action and § 1331 federal issue jurisdiction.

        2.      HAVA, 52 U.S.C. § 21112, confers a private cause of action and legal standing
                to bring preemption lawsuits against local governments with regard to federal
                elections; the absence of any appropriate remedy in state law such as a pre-
                election injunction in an administrative action reflects the need for federal
                jurisdiction.

       HAVA, 52 U.S.C. § 21112, confers upon the Iowa Voter Alliance a private cause of action and

legal standing. It fits the statutory category of “any person who believes that there is a violation of any

provision of subchapter III (including a violation which has occurred, is occurring, or is about to

occur).” As to the Iowa Voter Alliance’s prospective remedies sought in this Court, HAVA, 52 U.S.C.

§ 21112, titled “Establishment of State-based administrative complaint procedures to remedy

grievances,” guarantees an “appropriate remedy” to “any person who believes that there is a violation

of any provision of subchapter III (including a violation which has occurred, is occurring, or is about

to occur)” of HAVA. Under section (a) of 52 U.S.C. § 21112, Iowa, having received federal HAVA

payments, is “required to establish and maintain State-based administrative complaint procedures

which meet the requirements of paragraph (2).” Paragraph (2), among other things, requires that Iowa

provide that:

        (F) If, under the procedures, the State determines that there is a violation of any
        provision of subchapter III, the State shall provide the appropriate remedy.

(Emphasis added.)

        However, in this case, Iowa Administrative Code ch. 721-25 has failed to provide the federally

required “appropriate remedy” to “any person who believes that there is… [a HAVA] violation that

has occurred, is occurring, or is about to occur” because there is effectively no pre-election injunctive

relief allowed under Iowa Administrative Code ch. 721-25. Iowa Administrative Code ch. 721-25 fails



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to provide the immediate injunctive relief required to stop the defendants from accepting and using

CTCL’s private federal election grants before the November 3, 2020 election. Iowa Administrative

Code ch. 721-25 authorizes no one, not even the Iowa Attorney General, to pursue injunctive relief

for HAVA violations against Iowa’s local governments. Iowa Administrative Code ch. 721-25 is

legally insufficient to satisfy the federal “appropriate remedy” requirement for “any person” filing a

HAVA complaint in Iowa to obtain pre-election injunctive relief. Because Iowa Administrative Code

ch. 721-25 does not provide the federally-required “appropriate remedy” under 52 U.S. Code § 21112,

plaintiffs have a private cause of action and legal standing under 52 U.S.C. § 21112 to pursue pre-

election prospective declaratory and injunctive relief in federal court.

        3.      Voter standing regarding federal elections exists when the
                government favors demographic groups the same way it does
                when the government disfavors demographic groups.

        Federal courts enforce a three-part test for Article III standing: that is the plaintiff “(1)

suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and

(3) that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. ––––,

––––, 136 S.Ct. 1540, 1547, 194 L.Ed.2d 635 (2016). The Supreme Court has long recognized that a

person's right to vote is “individual and personal in nature.” Gill v. Whitford, 138 S.Ct. 1916, 1929 (U.S.

2018), quoting, Reynolds v. Sims, 377 U.S. 533, 561 (1964). Thus, “voters who allege facts showing

disadvantage to themselves as individuals have standing to sue” to remedy that disadvantage. Gill, 138

S.Ct. at 1929, quoting Baker, 369 U.S. 186, 206 (1962).      The Supreme Court in 2018 expressed an

openness to standing based on other “possible theories of harm.” Gill, 138 S.Ct. at 1931.

        Voter standing regarding federal elections exists when the government favors demographic

groups the same way it does when the government disfavors demographic groups. The court in Young

v. Red Clay Consol. Sch. Dist., 122 A.3d 784, 858 (Del. Ch. 2015) summarized this way, “[p]arity of

reasoning suggests that a government can violate the [Delaware] Elections Clause if it skews the


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outcome of an election by encouraging and facilitating voting by favored demographic groups.” In a

similar way, CTCL’s private federal election grants cause the government to violate neutrality which

injures the Plaintiffs by skewing the election outcomes as CTCL intends. Iowa Voter Alliance’s injury

is caused by the government’s favoritism of progressive demographic groups within Black Hawk

County and Scott County—just as if Iowa Voter Alliance itself were being suppressed.

          The plaintiffs also have standing because the private federal election grants tortiously interfere

with their Election Clause rights to fair, equal and uniform elections. The elements of the tort of

interference with a prospective business advantage or contractual relationship ... are the following: (1)

the plaintiff had a prospective contractual or business relationship; (2) the defendant knew of the

prospective relationship; (3) the defendant intentionally and improperly interfered with the

relationship; (4) the defendant's interference caused the relationship to fail to materialize; and (5) the

amount of resulting damages. See, e.g., Blumenthal Inv. Trusts v. City of West Des Moines, 636 N.W.2d 255,

269 (Iowa 2001); Gen. Elec. Capital Corp. v. Commercial Servs. Grp., Inc., 485 F. Supp. 2d 1015, 1025 (N.D.

Iowa 2007). Here, CTCL knew of the plaintiffs’ third party beneficiary rights, arising from legal and

contractual relationships between the federal government and the state, to fair, equal and uniform

elections. CTCL’s private federal election grant to Black Hawk County and Scott County have

interfered with plaintiffs’ third party beneficiary rights to fair, equal and uniform elections.

          B.      Black Hawk County’s and Scott County’s CTCL private federal
                  election grants are in a subject area of core governmental
                  responsibility, federal elections, where public-private partnerships are
                  constitutionally impermissible and where exclusive public funding is
                  required.

          Black Hawk County and Scott County receive federal moneys through the Secretary of State

to conduct federal elections.3 But, Black Hawk County and Scott County also chose to seek and accept




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    See e.g. Iowa Code, § 47.1; Iowa Code of Regulations § 721-27.7.

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private moneys from CTCL. In receiving the CTCL $554,370.00 grants, it created a public-private

relationship, privatizing in part, the conduct of federal elections. As the previously presented facts

reveal, the CTCL’s private federal election grants were provided to Black Hawk County and Scott

County.

        Young v. Red Clay Consol. Sch. Dist., 122 A.3d 784, 858 (Del. Ch. 2015) reveals the dangers of a

government scheme to target get-out-to-vote efforts on a favored demographic group. The school

district wanted its referendum to pass; so, it targeted parents of school children and adult students for

a get-out-to-vote campaign. In the Young decision, the court identified the school district’s scheme to

get-out-the-vote of the parents and adult students as also violating election law. The court held that

the school district’s improper influence upon a demographic group interfered with the “full, fair, and

free expression of the popular will….” Id.        The court stated that the government favoring a

demographic group was equivalent to the government disfavoring a demographic group:

        Historically, the law has focused on forms of “improper influence” that have interfered
        with the voting rights of disfavored demographic groups by dissuading or preventing
        them from voting through blatant means like fraud, violence, and intimidation. A
        government certainly violates the Elections Clause if it skews the outcome of an
        election in this manner. Parity of reasoning suggests that a government can violate the
        Elections Clause if it skews the outcome of an election by encouraging and facilitating
        voting by favored demographic groups. In both situations, the government has
        diminished the voting rights of one portion of the electorate and enhanced the voting
        rights of another portion of the electorate. In neither case is the election “free and
        equal.”

Id. As a case of first impression, no other case is analogous to the current Black Hawk County and

Scott County public-private partnership in the context of federal elections. However, other cases show

the need to announce the constitutional impermissibility of such public-private relationships regarding

core governmental responsibilities.

          The Supreme Court in Caperton v. A.T. Massey Coal Co., Inc., 2259–63, 556 U.S. 868, 876–82

(2009), held that a state appellate judge erred by not recusing himself in a case where a party had

donated $3,000,000 to the judge’s judicial campaign:

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        We conclude that there is a serious risk of actual bias—based on objective and reasonable
        perceptions—when a person with a personal stake in a particular case had a significant and
        disproportionate influence in placing the judge on the case by raising funds or directing the
        judge's election campaign when the case was pending or imminent. The inquiry centers on
        the contribution's relative size in comparison to the total amount of money contributed to
        the campaign, the total amount spent in the election, and the apparent effect such
        contribution had on the outcome of the election.
        Applying this principle, we conclude that Blankenship's campaign efforts had a significant
        and disproportionate influence in placing Justice Benjamin on the case. Blankenship
        contributed some $3 million to unseat the incumbent and replace him with Benjamin. His
        contributions eclipsed the total amount spent by all other Benjamin supporters and exceeded
        by 300% the amount spent by Benjamin's campaign committee.

Id. at 884. These sort of public-private partnerships where private parties significantly finance judges’

campaigns are not allowed within the judiciary.

        Similarly, in Board of Education of Kiryas Joel Village School District v. Grumet, 512 U.S. 687 (1994),

the Supreme Court drew such a line finding a public-private partnership constitutionally

impermissible. In Kiryas, the New York legislature sought to create a homogenous school district for

Satmar Hasidic Jews and did so by statute. This “religious” motive was improper for the state and the

statute forming the new district was stuck down. Id. at 691. Additionally, in Ferguson v. City of

Charleston, 532 U.S. 67, 81-86 (U.S. 2001), the Supreme Court held another public-private partnership

unconstitutionally impermissible. Here, the local prosecutor, concerned about crack babies, teamed

up with the local hospital to develop a program seeking to prevent expecting mothers from using

cocaine during the pregnancy. They developed a program where the hospital would test for the

presence of cocaine and provide a program to help with abstinence. If the patient refused, the results

were shared with the prosecutor’s office that in turn would encourage participation at the threat of

prosecution. The Supreme Court found the entanglement of public and private interests sufficient to

conclude the blood test by the hospital was a Fourth Amendment violation by the state. Id. at 86.

        As previously mentioned, the conduct of elections is a core public responsibility that must be

publicly-funded. Governmental entities are expected to remain neutral. Scholars have warned of the

hazard presented by partisan government conduct: “[P]ermitting the government to depart from a

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neutral position would threaten both the reliability of the election result as an expression of the

popular will and the appearance of integrity crucial to maintaining public confidence in the electoral

process.”4 See also Bullock v. Carter, 405 U.S. 134, 145 (1972) (recognizing states’ interests maintaining

integrity in election processes).

        The idea of the federal and state government exclusively funding federal elections is to

eliminate undue influence and the appearance of undue influence by private parties. With the

entanglement of public and private interests, CTCL’s private funding of federal elections introduces

undue influence and the appearance of undue influence into federal elections—which should be

declared constitutionally impermissible.

        C.      Black Hawk County’s and Scott County’s acceptances of the CTCL
                grants are preempted by federal and state law.

        Federal law preempts private federal election grants to counties and cities. There is no legal

authority under the Elections Clause nor 52 U.S.C. § 20901 for local governments to accept and use

private federal election grants.

        1.      Counties and cities, as political subdivisions of States, have no power to have
                federal election policies under the Elections Clause.

        Counties and cities, as political subdivisions of States, have no power to have federal election

policies under the Elections Clause. The Elections Clause states:

        The Times, Places and Manner of holding Elections for Senators and Representatives, shall
        be prescribed in each State by the Legislature thereof; but the Congress may at any time by
        Law make or alter such Regulations, except as to the Places of chusing Senators.


4
  Steven J. André, Government Election Advocacy: Implications of Recent Supreme Court Analysis,
64 Admin. L. Rev. 835, 851 (2012), citing Note, The Constitutionality of Municipal Advocacy in
Statewide Referendum Campaigns, 93 Harv. L. Rev. 535, 554, 554 n.112 (1980) (observing that
“[t]he [United States Supreme] Court has explicitly recognized that the validity of elections as bona
fide expressions of the popular will depends as much upon citizens' faith that the electoral process is
free from government tampering as on the actual fairness of that process”).




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U.S. Const., art. I, § 4, cl. 1. The Election Clause’s phrase “manner of holding elections” for Senators

and Representatives “refers to the entire electoral process, from the first step of registering to the last

step of promulgating honest returns.” U.S. v. Manning, 215 F. Supp. 272, 284 (W.D. La. 1963). The

Supreme Court has stated that the Elections Clause has two functions: “Upon the States it imposes

the duty (‘shall be prescribed’) to prescribe the time, place, and manner of electing Representatives and

Senators; upon Congress it confers the power to alter those regulations or supplant them altogether.”

Arizona v. Inter Tribal Council of Arizona, Inc., 570 U.S. 1, 8-9 (2013). The Supreme Court states that the

Elections Clause invests the state with power over Congressional elections subject to Congressional

control:

        The power of Congress over the “Times, Places and Manner” of congressional elections “is
        paramount, and may be exercised at any time, and to any extent which it deems expedient;
        and so far as it is exercised, and no farther, the regulations effected supersede those of the
        State which are inconsistent therewith.” Ex parte Siebold, 100 U.S. 371, 392, 25 L.Ed. 717
        (1880).

Inter Tribal Council of Arizona, Inc., 570 U.S. at 9. So, the States have “no power qua sovereigns”

regarding federal elections; whatever powers the States have regarding federal elections is because

Congress allows it. Fish v. Kobach, 840 F.3d 710, 731–32 (10th Cir. 2016). Nor does the Constitution

impose on the United States the costs incurred by Congress’s alterations of federal elections,

traditionally borne by the States. Voting Rights Coalition v. Wilson, 60 F.3d 1411, 1416 (9th Cir. 1995).

        To be sure, Governors and independent redistricting committees, established under state law,

have been found constitutionally permissible under the Elections Clause. Smiley v. Holm, 285 U.S. 355

(1932) (whether Governor of State through veto power shall have part in making of state laws

concerning the time, place and manner for holding elections is matter of state policy); Arizona State

Legislature v. Arizona Independent Redistricting Com’n, 576 U.S. 787 (2015) (Elections Clause did not

preclude State’s people from creating commissions operating independently of state legislature to

establish Congressional Districts). But, in contrast, counties and cities which are political subdivisions



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of the state have never been held to be sovereigns for federal election policies. Under the Elections

Clause, counties and cities have no power to have federal election policies.

    2. Since counties and cities have no federal election powers, counties and cities cannot
       dictate federal election outcomes, have no power to favor or disfavor candidates,
       have no power to favor or disfavor demographic groups and have no power to
       circumvent constitutional and other federal legal restraints.

        Since counties and cities do not have powers to have federal election policies, counties and

cities have no power to dictate federal election outcomes, have no power to favor or disfavor

demographic groups, have no power to favor or disfavor candidates, and have no power to evade

constitutional and other federal legal constraints.

        Under the Elections Clause, the States and their political subdivisions (counties and cities)

cannot dictate federal election outcomes; instead, fair and uniform federal elections are required. From

the time of the Elections Clause, the States were to prescribe the “time, place and manner” of U.S.

House of Representatives elections subject to Congressional enactments. After 1913, the year the

Seventeenth Amendment was enacted, states elected their U.S. Senators instead of the state legislatures

appointing U.S. Senators. After 1913, the States were required to prescribe the “time, place and

manner” of elections of U.S. Senators as they had been doing for Representatives of the U.S. House—

again subject to Congressional enactments.

        Under the Elections Clause, the States and their political subdivisions (counties and cities)

cannot favor or disfavor candidates. The Supreme Court in U.S. Term Limits, Inc. v. Thornton, 514 U.S.

779, (1995), held unconstitutional an Arkansas law that prohibited the candidacy of an otherwise

eligible Congressional candidate if he or she had already served three terms in the House of

Representatives or two terms in the Senate. The Supreme Court held that the ballot restriction was an

indirect attempt to impose term limits on congressional incumbents that violated the Qualifications

Clauses in Article I of the Constitution rather than a permissible exercise of the State's power to



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regulate the “Times, Places and Manner of holding Elections for Senators and Representatives” within

the meaning of Article I, § 4, cl. 1. Similarly, the Supreme Court held unconstitutional an initiative

amending the Missouri Constitution to require that any failure of United States Senators or

Representatives, or nonincumbent candidates for those offices, to support term limit provisions be

noted on federal election ballots:

        The [Elections] Clause grants to the States “broad power” to prescribe the procedural
        mechanisms for holding congressional elections, e.g., Tashjian v. Republican Party of Conn., 479
        U.S. 208, 217, 107 S.Ct. 544, 93 L.Ed.2d 514, but does not authorize them to dictate
        electoral outcomes, to favor or disfavor a class of candidates, or to evade important
        constitutional restraints, U.S. Term Limits, 514 U.S., at 833–834, 115 S.Ct. 1842.

Cook v. Gralike, 531 U.S. 510, 511 (2001).

        Under the Elections Clause, States and their political subdivisions (counties and cities) are not

to discriminate in favor of or in disfavor of a demographic group. For example, the Supreme Court

stated that the right to vote in federal elections includes the right against discrimination:

        This new constitutional right was mainly designed for citizens of African descent. The
        principle, however, that the protection of the exercise of this right is within the power of
        congress, is as necessary to the right of other citizens to vote as to the colored citizen, and to
        the right to vote in general as to the right to be protected against discrimination. The
        exercise of the right in both instances is guarantied by the constitution, and should be kept
        free and pure by congressional enactments whenever that is necessary.

The Ku Klux Cases, 110 U.S. 651, 665 (1884). Consistently, the Voting Rights Act of 1965 is a landmark

piece of federal legislation in the United States that prohibits racial discrimination in voting. Designed

to enforce the voting rights guaranteed by the Fourteenth and Fifteenth Amendments to the United

States Constitution, the act secured the right to vote for racial minorities throughout the country,

especially in the South.

        Consistently, the States and their political subdivisions (counties and cities) under the Federal

Elections Clause also cannot favor a demographic group. A government favoring a demographic

group, similar to the government disfavoring a demographic group, skews election outcomes. “Parity

of reasoning suggests that a government can violate the [Delaware] Elections Clause if it skews the

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outcome of an election by encouraging and facilitating voting by favored demographic groups.” Young

v. Red Clay Consol. Sch. Dist., 122 A.3d 784, 858 (Del Ch. 2015).

        Red Clay Consol. Sch. Dist. reveals the dangers of a government scheme to target get-out-to-vote

efforts on a favored demographic group. The school district wanted its referendum to pass; so, it

targeted parents of school children and adult students for a get-out-to-vote campaign. In the Young

decision, the court identified the school district’s scheme to get-out-the-vote of the parents and adult

students as also violating election law. The court held that the school district’s improper influence

upon a demographic group interfered with the “full, fair, and free expression of the popular will….”

Id. The court stated that the government favoring a demographic group caused equivalent injury to a

voter as the government disfavoring a demographic group. Id.

        Finally, under the Elections Clause, States are not to circumvent constitutional or other federal

legal restrictions. As discussed above, the Elections Clause requires that the Constitution and other

federal law preempts any inconsistent action of a State or its political subdivisions.

        3.       Elections Clause preemption is not subject to the Plain Statement Rule which
                 derives from the Supremacy Clause’s presumption against preemption;
                 different canons of statutory interpretation apply.

        Elections Clause preemption is not subject to the Plain Statement Rule. The Plain Statement

Rule requires that, when Congress intends to preempt state law, “it must make its intention to do so

‘unmistakably clear in the language of the statute.’ ” Gregory, 501 U.S. 452, 460 (1991) (quoting Will v.

Mich. Dep't of State Police, 491 U.S. 58, 65 (1989)). However, because Congress's regulation of federal

elections displaces state regulations, and because the states have no power as sovereigns to regulate

such elections, the plain statement rule, as a creature of the presumption against preemption, has no

work to do in the Elections Clause setting; it is unnecessary to prevent inadvertent or ill-considered

preemption from altering the traditional state-federal balance. Fish v. Kobach, 840 F.3d 710, 731–32

(10th Cir. 2016), citing Inter Tribal, 133 S.Ct. at 2257 & n.6.


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        Importantly, recognizing the uniqueness of the Election Clause, the Ninth and Tenth Circuits

apply a canon of statutory interpretation considering “the relevant congressional and state laws as part

of a single statutory scheme but treating the congressional enactment as enacted later and thus

superseding any conflicting state provision.” Fish v. Kobach, 840 F.3d 710, 726 (10th Cir. 2016), citing

Gonzalez v. Arizona, 677 F.3d 383, 394 (C.A.9 (Ariz.),2012)

    4. Under 52 U.S.C. § 20901, counties and cities, as political subdivisions of the State, are
       preempted from receiving and using private federal election grants to improve
       federal elections.

        Title 52 of the United States Code (52 U.S.C.), entitled "Voting and Elections", is a

codification of the "general and permanent" voting and election laws of the United States federal

government. Subtitle I covers “Voting Rights.” 52 U.S.C. §§ 10101 – 10702). Subtitle II covers

“Voting Assistance and Election Administration.” 52 U.S.C. §§ 20101 – 21145. Subtitle III covers

“Federal Campaign Finance” 52 U.S.C. §§ 30101 – 30146. 52 U.S.C. § 21141 defines “State” to

exclude counties and cities:

        In this chapter, the term “State” includes the District of Columbia, the Commonwealth of
        Puerto Rico, Guam, American Samoa, and the United States Virgin Islands.

Consistent with the Elections Clause, Title 52 imposes federal legal requirements on the States

regarding federal elections.

        52 U.S.C. § 20901, titled “Payments to States for activities to improve administration of

elections,” establishes an exclusive prerogative for the federal government to grant funds to states to

improve administration of federal elections. 52 U.S.C. § 20901 requires the States to use federal

moneys to implement federal policy regarding federal elections:

        (b)USE OF PAYMENT
        (1)IN GENERAL A State shall use the funds provided under a payment made under this
        section to carry out one or more of the following activities: (A) Complying with the
        requirements under subchapter III. (B) Improving the administration of elections for
        Federal office. (C) Educating voters concerning voting procedures, voting rights, and voting
        technology. (D) Training election officials, poll workers, and election volunteers. (E)


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        Developing the State plan for requirements payments to be submitted under subpart 1 of
        part D of subchapter II. (F) Improving, acquiring, leasing, modifying, or replacing voting
        systems and technology and methods for casting and counting votes. (G) Improving the
        accessibility and quantity of polling places, including providing physical access for individuals
        with disabilities, providing nonvisual access for individuals with visual impairments, and
        providing assistance to Native Americans, Alaska Native citizens, and to individuals with
        limited proficiency in the English language. (H) Establishing toll-free telephone hotlines that
        voters may use to report possible voting fraud and voting rights violations, to obtain general
        election information, and to access detailed automated information on their own voter
        registration status, specific polling place locations, and other relevant information.

Thus, federal election moneys are distributed to the States under the federal policy limitations of 52

U.S.C. § 20901. The States then determine how much of the money is distributed locally.

        On December 20, 2019, prior to the COVID-19 pandemic, on the federal Consolidated

Appropriations Act of 2020 was signed into law. Public Law No: 116-94 (Dec. 20, 2019). The Act

included $425 million in new Help America Vote Act (HAVA) funds, made available to states to

improve the administration of elections for Federal Office, including to enhance technology and make

election security improvements. On March 27, 2020, in response to the COVID-19 pandemic, the

federal Coronavirus Aid, Relief, and Economic Security Act (CARES Act) was signed into law. Public

Law No. 116-136 (Mar. 27, 2020). The Act included $400 million in new Help America Vote Act

(HAVA) emergency funds, made available to states to prevent, prepare for, and respond to the

coronavirus for the 2020 federal election cycle. The States, consistent with 52 U.S.C. § 20901,

distributed most of the federal moneys to the counties and cities for federal election purposes. The

counties and cities are bound by the federal policy limitations of 52 U.S.C. § 20901.

        There is no legal authority under the Elections Clause nor 52 U.S.C. § 20901 for counties and

cities, which are political subdivisions of the States, to accept and use private federal election grants.

The Elections Clause does not authorize the political subdivisions of the State to have federal election

policies. 52 U.S.C. § 20901 authorizes federal payments to States for the purpose of improving election

administration. The states, in turn, distribute money to the counties and cities as their respective

political subdivisions. 52 U.S.C. § 20901 does not authorize private federal election grants to counties

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and cities. Private federal election grants to counties are legally unauthorized.

II.     The moving party will suffer irreparable injury absent the injunction.

        The Iowa Voter Alliance, absent the injunction, will suffer irreparable injury. There is no

administrative remedy that can be granted under HAVA or another federal or state statutory election

law that will provide for immediate injunctive relief. In short, the Iowa Voter Alliance has no other

option to challenge Black Hawk County’s and Scott County’s acceptance of private federal elections

grants. Black Hawk County’s and Scott County’s acceptance of CTCL’s grant reveals a public-private

relationship that privatizes federal elections to skew the outcome of an election in an urban city of a

favored demographic group. It skews the neutrality of an election which is the core governmental

responsibility. Red Clay Consol. Sch. Dist., 122 A.3d at 857–58. Threats of private unconstitutional

interference with the November 3 elections pose the same type of “irreparable injury” and are

analogous     to    “irreparable   injury”    for   First   Amendment       deprivations.     “The    loss

of First Amendment freedoms,        for      even   minimal     periods    of       time,   unquestionably

constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976); Planned Parenthood Minnesota,

North Dakota, South Dakota v. Rounds, 530 F.3d 724, 752 (8th Cir. 2008). “For this reason, the

irreparable harm factor generally weighs in the movant's favor in First Amendment cases, although it

is often intertwined with a court's evaluation of the likelihood of success on the merits.” Seaton v.

Wiener, 22 F.Supp.3d 945, 951 (D. Minn. 2014). Once the November election occurs, the damage to

what is to be fair and uniform elections is complete. Without injunctive relief, the CTCL moneys will

cause a non-conformity of uniform elections. This illegal public-private partnership causes the

plaintiffs irreparable injury.

III.    The harm to other interested parties is little or none if the relief is granted.

        The Iowa Voter Alliance absent the injunction, will suffer harm. Black Hawk County and Scott

County have admitted that despite the anticipated increase in voting, namely absentee ballot voting,



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there would be no fiscal impact.5 Hence, the need of the private federal election grants is questionable

at best. Black Hawk County and Scott County has access to HAVA moneys and additional Cares Act

moneys, specifically for election related needs—as does every other city or county in Iowa responsible

for conducting the 2020 federal elections. On the other hand, the introduction of a public-private

relationship in the federal election context is a first-time foreign element not contemplated by either

HAVA or the Iowa Legislature since the laws exclusively control the conduct and moneys related to

federal elections. There is no question of the historical success and consistency of Black Hawk County

and Scott County in their election processes considering the percentages of voters casting ballots.

What also is notable are the voter outcomes—predominately progressive. Hence, the grants from

CTCL raise sufficient questions as to the propriety of the public-private created relationship and the

facilitation of a favored demographic group. In short, injunctive relief to stay expenditures of the grant

will cause little or no harm to the conduct of Black Hawk County and Scott County elections.

Moreover, a state grant process is in place through the Secretary of State’s office should Black Hawk

County and Scott County need more moneys. By doing so, Black Hawk County and Scott County will

stay true to their core public responsibilities in conducting elections consistent with federal and state

laws. For these reasons, the balance of harms favors granting the motion.

IV.       The public interest is aided by the preliminary injunction.

          The public interest, absent the injunction, will be impeded. Black Hawk County’s and Scott

County’s acceptance of CTCL’s grant reveals a public-private relationship that privatizes federal

elections to skew the outcome of an election in an urban city of a favored demographic group. It

skews the neutrality of an election which is the core public responsibility of Black Hawk County and

Scott County. Red Clay Consol. Sch. Dist., 122 A.3d at 857–58. Threats of private unconstitutional




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interference with the November 3 elections pose the same type of public interest analysis as in First

Amendment deprivations. The public interest factor in First Amendment cases generally favors

granting the injunction. Phelps–Roper v. Nixon, 545 F.3d 685, 690 (8th Cir.2008) (concluding that if the

movant “can establish a sufficient likelihood of success on the merits of her First Amendment claim,

she will also have established irreparable harm as the result of the deprivation”). The determination

of where the public interest lies should depend on the likelihood of success on the merits of the

Elections Clause challenge “because it is always in the public interest to protect constitutional rights.”

Id.; see also Seaton, 22 F.Supp.3d at 951. As discussed above, the Iowa Voter Alliance has no alternative

administrative remedy. There is no other avenue to challenge the illegality of the public-private

partnership. The harm that defendants will experience should they not receive CTCL’s private federal

election grant is little. Black Hawk County and Scott County can obtain additional funds from the

state if they need it. For these reasons, the public interest favors granting the motion.

                                              Conclusion

        For the foregoing reasons and to preserve Iowa’s democratic elections, the Court should grant

the temporary restraining order.

 Dated: October 6, 2020.                               /s/Vincent J. Fahnlander
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